      Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 1 of 18 Page ID #:1




  FULL NAME

  COMPLIANANT-INTERVENOR
  COMMITTED NAME(if different)

  SANTA MARIA,CA 93458                                                                   ,~, 14~
  FULL ADDRESS INCLUDING NAME OF INSTITUTION


                                                                                                               DEPUTY

  PRfSON NUMBER (if applicable)




                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER        2:23~GV — O~2Qg -~wN'MkR
                                                                                   2:2022cv08344
                                                                                          To be supplied by the Clerk
  JOHN BRIGHT                                     PLAINTIFF,
                        v.
                                                                             CIVIL RIGHTS COMPLAINT
 CITY OF SANTA MARIA,CHIEF
                                                                                PURSUANT TO (Check one)
 PHIL HANSEN,SGT. JESUS
 VALLE #19091 RICARDO ARIAS                    DEFENDANT(S).     ~ 42 U.S.C. § 1983
 #21116, DANIEL MARTINEZ                                         ❑ Bivens v. Six Unknown Agents 403 U.S. 388(1971)

A. PREVIOUS LAWSUITS

     1. Have you brought any other lawsuits in a federal court while a prisoner: ❑Yes         ~ No

     2. If your answer to "1." is yes, how many?

          Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
          attached piece of paper using the same outline.)




                                                  CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                             Page 1 of6
       Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 2 of 18 Page ID #:2

          a. Parties to this previous lawsuit:
               Plaintiff COMPLAINANT-INTERVENOR IN RE THE MATTERS OF JOHN BRIGHT V.                                                         '



               T~e1~nr~ants DIGNITY HO E H ALTH,HOSPICE &INFUSION, CHIEF MARC
                                                              JOHN DOES 1-1000 ET AL,Defendants

          b. Co►~1'N'
                 --~T           ,,,,FS~I IfTRI~T COURT CENTRAL DISTRICT OF CALIFORNIA
                               ~TAT




          c. Docket or case number 2.2022cv08344
          d. Name of judge to whom case was assigned presiding judge Patricia Donahue
          e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
               appealed? Is it still pending?) yes, it is still pending
          f.   Issues raised: FOR VIOLATION OF CIVIL                                               RIGHTS 42 U.S.C. ` 1983              [




          g. Approximate date of filing lawsuit: November 15, 2022
          h. Approximate date of disposition UNKNOWN


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance procedure available at the institution where the events relating to your current complaint
        occurred? ~ Yes ❑ No

     2. Have you filed a grievance concerning the facts relating to your current complaint? ~ Yes                      ❑ No

         If your answer is no, explain why not Pending




    3. Is the grievance procedure completed? O Yes                D No

         If your answer is no, explain why not unknown,to the best of my knowledge



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff COMPLIANANT-INTERVENOR
                                                                                             (print plaintiffs name)

    who presently resides at COUNTY OF SANTA BARBARA,SANTA MARIA
                                                                  mai mg      ress or p ace o con mement

    were violated by the actions ofthe defendants) named below, which actions were directed against plaintiff at
SANTA MARIA,CA
                                                  institution city where violation occurre


                                                       CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                                  Page 2 of'6
     Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 3 of 18 Page ID #:3



    on (date or dates)               7/5/23
                                    ( aim                             aim                          C aim

    NOTE:        You need not name more than one defendant or allege more than one claim. If you are naming more than
                 five(5)defendants, make a copy of this page to provide the information for additional defendants.

     1. Defendant SANTA MARIA POLICE DEPARTMENT                                                         resides or works at
                        u name o ~rst e en ant
                      OFFICER SANTIAGO
                     (full address of first defendant)
                      OFFICER PONCE
                        e en ant s position an rit e, i any


        The defendant is sued in his/her(Check one or both): ~ individual          ~ official capacity.

        Explain how this defendant was acting under color of law:




    2. Defendant DIGNITY HOME HEALTH,HOSPICE &INFUSION                                                  resides or works at
                    (      name o ~rst e en ant
                      124 S. COLLEGE DRIVE
                    (full address of first defendant)

                      SANTA MARIA,CA 93454
                        e en ant's pos~t~on an tit e, ~ any


        The defendant is sued in his/her(Check one or both): ~ individual          ~ official capacity.

        Explain how this defendant was acting under color of law:
         inside outside our homes, neighborhoods employees, agents for, Dignity Hospital, Santa Maria Police Department



    3. Defendant                                                                                        resides or works at
                           name o first e en ant


                    (full address of first defendant)


                        e en ant s position an tit e, i any


        The defendant is sued in his/her(Check one or both): ❑individual           ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                         CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                               Page 3 of6
    Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 4 of 18 Page ID #:4


   4. Defendant                                                                                   resides or works at
                     u name v     first e en ant


                   (full address of first defendant)


                      e en ant s posdion an td e, ~ any


        The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

        Explain how this defendant was acting under color of law:




   5. Defendant                                                                                   resides or works at
                   (full name of first defendant)


                   (full address of first defendant)


                      e en ant s pos~hon an tit e, i any


        The defendant is sued in his/her(Check one or both): ❑individual        ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                       CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                       Page 4 of6
     Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 5 of 18 Page ID #:5


D. CLAIMS*
                                                          CLAIM I
     The following civil right has been violated:




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT (by name)did to violate your right.




    *Ifthere is more than one claim, describe the additional claims) on another attached piece ofpaper using the same
    outline.


                                                    CIVIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                                     Page 5 of6
     Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 6 of 18 Page ID #:6

E. REQUEST FOR RELIEF

    1 believe that I am entitled to the following specific relief:




                (Date)
                                                                         e~ ~~
                                                                         (Signature c   1~




                                                    C1VIL RIGHTS COMPLAINT
CV-66 (7/97)                                                                                 Page 6 of6
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 UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA




 N OTICE OF INTERVENOR IN RE MATTER OF



 J OHN BRIGHT,      Plaintiff,

 v.
 CITY OF SANTA MARIA, CHIEF
 PHIL HANSEN, SGT. JESUS
 VALLE #19091 RICARDO ARIAS
 #21116, D~NIE~ Mf~RTINEZ
 #90346, DOES 1-10,
 Defendants.




           NOTICE OF INTERVENOR/COMPLAINT FOR DAMAGES

                       Code of Civil Proc., sec. 387(c)
Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 8 of 18 Page ID #:8




 Asking for Mr. Elizondo, my Dad I phoned Dignity Hospital on or about July 15, 16
 b ut serveral time I was told that there was nobody by that name there.      On July
 16, 2022 Mr. Elizondo, my Dad passed-away.

 On or about the events, activities of July 14, 15, 16 2022 the County of Santa
 Barbara for, the Department of Social Services Sr. at the estates, lots of 967 West
 Bunny Ave, identified herself, as Elizabeth Anda appears on a welfare check.      She
 had received several calls from a neighbor(s), this was argumentive and asked if
 she may enter the house only a day after Mr. Elizondo was released from the
 hospital, under my care.

 And I told her that Mr. Elizondo was also examined by Diginity Home Hospice
 I nfusion staff, nurses.   And that, he was told by those nurses that he is doing just
 fine, he has excellent medical readings and that he may be taken off home
 hospice; and that he is well taken care of, by his family.

 On or before July 14, 2022 the County of Santa Babara appears on this welfare
 check Dignity Health Home Hospice Infusion refuse to show up or to check on Mr.
 Elizondo's welfare.    Instead Dignity Home Health Hospice Infusion phoned SMPD
 on a gist and argumentive claims and sent for officers, fire department, a task
 force on welfare checks.

 The night before the SMPD explained that they were phoned by Dignity Home
 Health Hospice Infusion staff and that they were told that claimant would Not let
 them enter, to see Mr. Elizondo.      Claimant responded by stating that I just called
 Dignity Home Health Hospice staff, for a nurse.

 SMPD then asked how is he, can we see him, then I explained that Mr. Elizondo
 was just release, from the hospital, release in my care. They were denied entry.
 They responded and by mandatory order, they entered the house.

 This was Not an emergency, but on or before July 14, 2022 again the SMPD
 a ppears without a court order, with the paramedics. Officers, Santiago, Ponce
 for the SMPD, paramedics enters the house; and removes Mr. Elizondo.
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 Before removing Mr. Elizondo from the house they meet and confer, on a call
 with a Dignity Home Health Home Hospice Infusion, staff members.     Officer
 Santiago claim that he just talked with Ms. Elizondo and that she makes the
 decision, and that she is the decision maker. And that, Ms. Elizondo was Not on
 medication.

 Claimant responded by explaining that he has Mr. Elizondo's signature on Health
 Directives, power of attorneys agreement(TOD) documents. Officer Santiago
 then said "you do Not want to get a charge for obstruction, Do You Not want your
 Dad to get well, to get medical treatment," and that "these people are
 professional that they know what they are doing."

   U nder the care of SMPD, paramedics on July 16, 2022 my Dad passed-away.
Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 10 of 18 Page ID #:10




  INTERVENOR ESTEBAN MARTINEZ M., for a Complaint alleges as follows:

                                     J URISDICTION

  1. Jurisdiction of this Court is invoked under 28 U.S.C. Section 1331

  a nd 1343.

               ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

  2. At al l times herein mentioned, Plaintiff JOHN BRIGHT was an adult male

  i ndividual residing and self-employed in the City of Santa Maria, California

  a nd within the Central Judicial District of the United States District Court.

  3. Defendants City of Santa Maria (hereinafter "CITY") is and at all times

  herein mentioned has been a public entity and an incorporated

  city duly authorized and existing as such in and under the yaws or

  the State of California; and at all times herein mentioned, bargainfor-

  exchanged Defendant CITY possessed the power, to issue permits and

  a uthority to adopt policies, covenants, restrictions, conveyances,

  contractual, subcontractual agreements grantee-grantor Interest usage of

  these estates, lots with Tri-M Group Rental, Inc., Agro-Jal Farms, Adams

  Bros. Farms, Chavez Farms Trust, others invited businesses activities,

  events at the estates, lots of John Does 1-1000 owners as agents.

  4. Complainant-Intervenor is informed and believes, in re Profile of these

  neighborhoods or agents for City, County employees, Dignity Home Health

  Hospice Infusions and thereon alleges that each owners of these homes,
Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 11 of 18 Page ID #:11




  estates, lots and prescribe rules, regulations, search seizures/welfare

  checks and practices affecting the operation of involving employees of the

  SANTA MARIA POLICE DEPARTMENT("SMPD"), the Fire Department task

  force, Paramedics, Code Compliance Enforcement Division, Parks &

   Recreation Department-Rangers, Building Inspection Department City

  a nd County employees, officers and particularly said Department's Training

  a nd Personnel Divisions, Patrol, SWAT, Internal Investigations and other

  operations and subdivisions presently unidentified to Plaintiff

   i ntrusion and seclusion and their tactics, methods, practices, customs and

   usages.

  4. Plaintiff is informed and believes and thereon alleges that each of

  the Defendants designated as a DOF is responsible in some manner

  for the events and happenings herein referred to, and thereby

   proximately caused injuries and damages as herein alleged. The

  true names and capacities of DOES 1 through 10, inclusive, as agents for

  Dignity Health Home Health Hospice Infusion and each of them, are not

  now known to Plaintiff who therefore sues said Defendants by such

  fictitious names. Plaintiff will amend this Complaint in accordance with

  California Code of Civil Procedure Section 474 and FRCP 15 to show their

  true names and capacities when same have been ascertained, as alleged

  therein.

  S. At all times herein mentioned, Defendants Marc Schneider Chief
Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 12 of 18 Page ID #:12




  of Police, RICARDO ARIAS #21116, SGT. JESUS VALLE #19091,

  DANIEL MARTINEZ #90436, PONCE, SANTIAGO and DOES 1-1000 et al are

  (or were) believed to be employees and agents of the CITY OF SANTA

  M ARIA. All said defendants were acting under color of law within the

  meaning of 42 U.S.C. § 1983.

  6. Defendants, and each of them, did the acts and omissions hereinafter

  a lleged maliciously, in bad faith and with knowledge that their conduct

  violated clearly established and settled law.

  7. There is a grievance procedure available at the institution where the

  events relating to this current complaint occurred.     On/about January 15,

  202 Complaint-Intervenor has filed a grievance concerning the facts

  relating to this current :.omplairt.   To the best or my kncwiedge, it is still

  pending this grievance has Not been completed.        Attached are copies of

  papers related to this grievance procedures.

  8. This action has been tolled during the pendency of the exhaustion of

  administrative remedies, this grievance for decision pursuant to the

  Administrative Procedure Act applicable through federal law herein.
    Case 2:23-cv-06288-JWH-MAR Document 1 Filed 07/14/23 Page 13 of 18 Page ID #:13

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u~sstore6973@gmail.com <upsstore6973@gmail.com>                     Mon, Jan 23, 2023 at 4:?_9 F~P~I
To: cnamisconduct@cdph.ca.gov

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             Case 2:23-cv-06288-JWH-MAR
   State of Calif~rr~ia                             Document 1 Filed 07/14/23 Page
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                                                                                California 18 Page ofIDPublic
                                                                                                        #:14 Health

                                         CNA/HHA/CHT REPORT OF MI~GONDUCT

  To:      California Department of Public Health (CDPH)                                   From reporting party/complainant
                                                                                                              ~~
           I nvestigation Section, MS 3303                                                                    ~,..
          ('.O. Box 997416                                                                    Name and Title:*'' )'~~¢~ ~                          '~~~~~ ~ ~✓~j
           Sacramento, CA 95899-7416
          (916)492-8232 or (916)445-4423
                                                                                                        Address: ~+        ~         V, ~                             /
           Email: cnamisconduct@cdph.ca.gov
           FAX:(916) 552-8788

                                                                                                      Telephone:         ~ )                        ~     U,~~ C

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 If available, please provide the following:
• Copies of any investigation reports and witness/resident statements related to incident.
• Names and addresses of any law enforcement or other agency to whom this was reported.
Reported to:                 ❑Licensing and Certification District Office                 ❑Law Enforcement Agency                ❑Ombudsman
 ❑ Department of Consumer Affairs                 ❑Department of Justice, Bureau of Medi-Cal Fraud &Elder Abuse
Date Reported


`Social Security Number Disclosure: Pursuant to Title 42, Code of Federal Regulations, section 666(a)(13) and California Family Code, section 17520,
subdivision (d), the California Department of Public Health (CDPH), is required to collect social security numbers for n~,:sing assistant certificates, home health
aide certificates, and hemodialysis technician certificates. Your social security number will be used by CDPH for internal identification and may be used to
verify information.

CDPH 318 (01/15) This form is available on our website at: www.cdph.ca.gov
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   On or before July 14 Dignity Health Home Hospice Infu
                                                          sions refused to show up to
  treat Mr. Elizondo instead they sent for SMPD on a welf
                                                           are check, the SMPD
  explain that they were told that claimant would not let
                                                          them see Mr. Elizondo and
  SMPD asked can we see how he is. Dignity Health Hom
                                                        e Hospice Infusions was
  p honed by claimant.


  SMPD,officers were argumentive they mandated entry;
                                                            they entered, after
  responded by explaining to the SMPD that Mr. Elizondo
                                                           and I were just at the
  h osptial, that he was seen by the doctors; and that he
                                                          was released in my care,
  this was not a emergency circumstance.


 The next day paramedics, SMPD, offiicer Santiago pres
                                                         ence were all this property,
 c urtilage on a welfare check, without a court order, my
                                                          consent, again and
 e ntered this property, curtilage, eventually the house
                                                         on a mandatory entry.

 the SMPD was informed that Dignity is being and afte
                                                        r meeting with Mr. Elizondo
 claimant would be calling for a nurse, to meet with
                                                     us, here. Officer Santiago
 would not allow this, he took a call from Dignity Hom
                                                       e Health Hospice Infusions,
 staff, Tina, others.


 M r. Elizondo, claimant would be calling for a nurse,
                                                       and replaced by Santa Maria
 H ome Hospice service and that he understood that
                                                       he gets it because he his
family knows all about these arrangements, legal agre
                                                          ement, including California
A dva nce   Health Care Directives, deeds when it is Not
                                                         notorized, who is the
m  edic al decision maker. And besides that Mr. Elizondo
                                                            did not sign this, it was a
scribble, that this was Not his signature.


Claimant told the SMPD that Ms. Elizondo is medicate
                                                     d, under her doctor order,
her consent was at issue and that she does not have thes
                                                          e directives agreements,
deed (TOD), decisions. But officer Santiago claim, that
                                                        she looks alright, I just
talked with her, that she make this decision, that she
                                                       is the medical decision
m aker.
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  Officer Santiago said "you do Not want to get charged with obstruction, Do you
  Not want your Dad to get medical treatment, these people are professionals,
  County and City, paramedics employees for the fire department entered the
  house. the City Fire Department was at the West Bunny Avenue, North Western
  i ntersection, lying-in-waite   Officer Ponce arrives late, he stays in his vehicle
  from 968 West Bunny Ave, a security guard employee for Dignity Hospital Officer
  Santiago leaves the property, curtilage he     walks to Officer Ponce.

  They meet and confer, I overheard Officer Santiago say this was staged, he was
 set up, no re-enty.


 On or before July 14, 15, 16, 2022 the Department of Social Services, County of
 Santa Barbara, Elizabeth Anda, Social Worker Sr., Adult Protective Services was
 lying-in-waite and appears on a welfare check at the estate, lot of 967 West
 Bunny Avenue.


 And claims on a gist that she has received a phone call from a neighbor, in re
 welfare check of      Mr. Elizondo and if she, for the County may enter the home.


 at 968 I observed a tenant in uniform with a security guard logo for Dignity
 Hospital, at 971 is employed as a nurse for Dignity Hospital; 976 West Agnes
 Avenue may be a County facility, Mental Health.


 On or about July 15, 16 asking for Mr. Elizondo, my Dad I phone Dignity Hospital,
 several times I was told that there was nobody by that name.        But on July 16,
 2022 I was told that Mr. Elizondo had passed a-way.
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